                                        Case 2:18-cv-07723-SJO-JPR Document 1-2 Filed 09/05/18 Page 1 of 152 Page ID #:14



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 LOS ANGELES, CALIFORNIA 90017-5704




                                               Attorneys for Petitioner
                                          11   Shanghai Qichengyueming Investment
                                               Partnership Enterprise (Limited Partnership)
         DENTONS US LLP




                                          12
           (213) 623-9300




                                          13                        UNITED STATES DISTRICT COURT
                                          14                       CENTRAL DISTRICT OF CALIFORNIA
                                          15
                                          16   Shanghai Qichengyueming Investment             Case No.
                                               Partnership Enterprise (Limited
                                          17   Partnership),                                  DECLARATION OF JINSHU
                                                                                              ZHANG IN SUPPORT OF
                                          18                  Petitioner,                     PETITION TO RECOGNIZE
                                                                                              AND ENFORCE A FOREIGN
                                          19         v.                                       ARBITRAL AWARD
                                          20   Jia Yueting,
                                          21                  Respondent.
                                          22
                                          23
                                          24
                                          25
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                                          27
                                          28                                                         DECLARATION OF JINSHU ZHANG IN
                                                                                                   SUPPORT OF PETITION TO RECOGNIZE
                                                                                                    AND ENFORCE A FOREIGN ARBITRAL
                                                                                                                             AWARD
                                        Case 2:18-cv-07723-SJO-JPR Document 1-2 Filed 09/05/18 Page 2 of 152 Page ID #:15



                                           1         I, Jinshu Zhang, state the following:
                                           2         1.     I am over the age of 18 and am competent to make this declaration.
                                           3         2.     Except as otherwise stated herein, I make the statements contained
                                           4   herein from personal knowledge, and if sworn as a witness, will testify to the truth
                                           5   thereof.
                                           6         3.     I am a partner in the Los Angeles office of Dentons US LLP.
                                           7         4.     I make this affidavit in support of the Petition to Recognize and
                                           8   Enforce a Foreign Arbitral Award of Shanghai Qichengyueming Investment
                                           9   Partnership Enterprise (Limited Partnership) (“Shanghai Qichengyueming”).
                                          10         5.     Attached hereto as Exhibit 1 is a true and correct copy of the Final
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                          11   Award.
         DENTONS US LLP




                                          12         6.     Attached hereto as Exhibit 2 is a certified translation from Chinese to
           (213) 623-9300




                                          13   English of the Final Award.
                                          14         7.     Attached hereto as Exhibit 3 is a true and correct copy of the
                                          15   Convertible Note Purchase Agreement (the “Purchase Agreement”) between
                                          16   Shanghai Qichengyueming; Leview Mobile Ltd.; Leview Holding (Beijing)
                                          17   Limited (“Leview Holding”); Le Ltd.; Lesai Mobile Technology (Beijing) Co.,
                                          18   Ltd.; QC Investment Ltd.; and Mr. Jia Yueting.
                                          19         8.     In the arbitration, Shanghai Qichengyueming sought to obtain
                                          20   payments due it under the Purchase Agreement and related agreements.
                                          21         9.     The Arbitral Tribunal found substantially in favor of Shanghai
                                          22   Qichengyueming and against Mr. Jia and Leview Holding.
                                          23         10.    In the Final Award, the Arbitral Tribunal:
                                          24                      a.     Ordered Mr. Jia and Leview Holding to pay to Shanghai
                                          25                Qichengyueming redemption prices for the convertible notes at issue
                                          26                in the arbitration (including principal and interest) of
                                          27                RMB648,284,650;
                                          28                                                           DECLARATION OF JINSHU ZHANG IN
                                                                                                     SUPPORT OF PETITION TO RECOGNIZE
                                                                                        -2-           AND ENFORCE A FOREIGN ARBITRAL
                                                                                                                               AWARD
                                        Case 2:18-cv-07723-SJO-JPR Document 1-2 Filed 09/05/18 Page 3 of 152 Page ID #:16



                                           1                      b.     Ordered Mr. Jia and Leview Holding to pay to Shanghai
                                           2                Qichengyueming default interest of 4.35% from July 7, 2017 through
                                           3                the date of actual payment on the RMB606,635,250 principal of
                                           4                Convertible Note I;
                                           5                      c.     Ordered Mr. Jia and Leview Holding to pay to Shanghai
                                           6                Qichengyueming default interest of 4.35% from August 17, 2017
                                           7                through the date of actual payment on the RMB41,649,400 principal of
                                           8                Convertible Note II;
                                           9                      d.     Ordered Mr. Jia and Leview Holding to pay to Shanghai
                                          10                Qichengyueming its attorney fees in the amount of RMB1,000,000;
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                          11                      e.     Ordered Mr. Jia and Leview Holding to pay to Shanghai
         DENTONS US LLP




                                          12                Qichengyueming its asset attachment fees in the amount of
           (213) 623-9300




                                          13                RMB5,000, and the premium Shanghai Qichengyueming paid for an
                                          14                asset attachment bond in the amount of RMB972,467.93;
                                          15                      f.     Ordered Mr. Jia and Leview Holding to reimburse
                                          16                Shanghai Qichengyueming the arbitration fee of RMB3,544,631;
                                          17                      g.     Ordered Mr. Jia and Leview Holding to reimburse
                                          18                Shanghai Qichengyueming arbitrator compensation in the amount of
                                          19                US$29,678.49; and
                                          20                      h.     Ordered that payment of all such amounts be made by Mr.
                                          21                Jia and Leview Holding within five days.
                                          22         11.    Based upon my personal knowledge, I certify that the documents
                                          23   attached to this declaration are genuine.
                                          24
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                                          28                                                       DECLARATION OF JINSHU ZHANG IN
                                                                                                 SUPPORT OF PETITION TO RECOGNIZE
                                                                                           -3-    AND ENFORCE A FOREIGN ARBITRAL
                                                                                                                           AWARD
                                        Case 2:18-cv-07723-SJO-JPR Document 1-2 Filed 09/05/18 Page 4 of 152 Page ID #:17



                                           1               I declare under penalty of perjury under the laws of the United States of
                                           2   America that the foregoing is true and correct.
                                           3               Executed on August 28, 2018.
                                           4
                                           5
                                           6
                                           7                                               Jinshu Zhang
                                           8
                                               108891283\V-1
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                                          10
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




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         DENTONS US LLP




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                                          28                                                               DECLARATION OF JINSHU ZHANG IN
                                                                                                         SUPPORT OF PETITION TO RECOGNIZE
                                                                                             -4-          AND ENFORCE A FOREIGN ARBITRAL
                                                                                                                                   AWARD
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       [Translation from Chinese original]


       [Cover]


                 CHINA INTERNATIONAL ECONOMIC AND TRADE

                                ARBITRATION COMMISSION

                                               AWARD

Claimant:            Shanghai Qichengyueming Investment Partnership Enterprise (Limited

                     Partnership)


Address:             Room 790A, Level 7, Building D, No. 137 Haining Road, Hongkou District,

                     Shanghai


Arbitration Counsel: Chen Shiyi, Beijing Guantao Zhongmao Law Firm (Shanghai)


First Respondent:    Jia Yueting (identification card number: 14262319731215081X)


Address:             16/F, Leshi Mansion, 105 Yaojiayuan Road, Chaoyang District, Beijing


Second Respondent: Leview Holding (Beijing) Limited


Address:             10/F, Building 3, Suite 1102, 105 Yaojiayuan Road, Chaoyang District, Beijing


Arbitration Counsel: Zou Yi, Beijing Zhongshu Law Firm


                                                  Beijing


                                               May 9, 2018




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  [Page 1]


                                                AWARD

                                                               (2018) CIETAC Beijing Arbitration 0436


              China International Economic and Trade Arbitration Commission (hereinafter

  “CIETAC”), based upon the arbitration clause contained in that certain Convertible Note

  Purchase Agreement (hereinafter the “Purchase Agreement”) entered into on June 3, 2015

  between claimant Shanghai Qichengyueming Investment Partnership Enterprise (Limited

  Partnership) (hereinafter “Claimant”) and first respondent Jia Yueting (hereinafter “First

  Respondent”) and second respondent Leview Holding (Beijing) Limited (hereinafter “Second

  Respondent”; collectively with First Respondent, “Respondents”) and the written arbitration

  demand submitted to CIETAC by Claimant on July 5, 2017, accepted the dispute between

  Claimant and Respondents over the Convertible Note Purchase Agreement. This case is

  numbered X20170753.


              The Arbitration Rules of China International Economic and Trade Arbitration

  Commission promulgated by CIETAC on January 1, 2015 (hereinafter the “Arbitration Rules”)

  apply to this arbitration proceeding.


              On July 12, 2017, the arbitration division of CIETAC separately sent both parties the

  arbitration notice of this case, the Arbitration Rules and Directory of Arbitrators, and at the same

  time sent Respondents the arbitration demand and its attachments submitted by Claimant. Upon

  verification, such mails were all duly delivered.




                                                   Exhibit 2
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              The arbitration clause governing this case provides that the language used in the

  arbitration shall be English, but upon the parties’ joint application the language used in this

  arbitration was changed to Chinese starting from August 29, 2017.


  [page 2]


              Claimant appointed Mr. Yang Liang-Yee to be an arbitrator of this case. Respondents

  appointed Mr. Qiang Li to be an arbitrator of this case. Since both parties failed to jointly appoint,

  or jointly entrust CIETAC’s chairman to appoint, the chief arbitrator by the prescribed deadline,

  CIETAC’s chairman appointed Mr. Wang Xuehua as the chief arbitrator pursuant to the

  Arbitration Rules. After the above arbitrators executed the affidavits accepting their appointment,

  the arbitral panel was formed on October 19, 2017 to collectively adjudicate this case. The

  arbitration division of CIETAC sent both parties a notice of the formation of the arbitral panel of

  this case with the affidavits attached by express courier service on the same day.


              The arbitral panel of the Economic and Commercial Arbitration Committee of the

  arbitration division decided to hear this case on December 7, 2017 in Beijing. The arbitration

  division of CIETAC sent both parties a hearing notice for this case on October 31, 2017 by

  express courier service. Upon verification, such documents were all duly delivered.


              Then for some reason the hearing originally scheduled for December 7, 2017 was

  continued to December 20, 2017. The arbitration division of CIETAC sent both parties a notice

  of continuance for this case on November 30, 2017 by express courier service. Upon verification,

  such documents were all duly delivered.


              The hearing of this case was held on December 20, 2017 as scheduled. Both parties sent

  their counsel to appear at the hearing on their behalf. The arbitration division of CIETAC


  108666247\V-5                                    Exhibit 2
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  delivered the documents submitted by each party at the hearing to the other party. During the

  hearing, both sides stated the facts of this case, presented the originals of the relevant evidence,

  questioned the witnesses, made legal arguments and responded to questions raised by the arbitral

  panel.


              After the hearing, each side submitted supplemental documents, which the arbitral panel

  forwarded via express courier [Page 3] to the other side.


              All the arbitration documents concerning this case were effectively served on both parties

  pursuant to the provisions in the Arbitration Rules.


              The adjudication of this case has now completed. Based upon the documents currently

  available as well as the facts ascertained and evidence verified at the arbitral hearing, the arbitral

  panel now makes this arbitral award following conference.


              The factual background, the opinion of the arbitral panel and the award are now set forth

  as follows:


                                      I. FACTUAL BACKGROUND


              (i)    Claimant’s Arbitration Demand, Facts and Reasons


              In its arbitration demand, Claimant alleged:


              On June 3, 2015, Claimant entered into a Convertible Note Purchase Agreement

  (hereinafter the “Purchase Agreement”) with Leview Mobile Ltd. (hereinafter the “Debtor”), Le

  Ltd., First Respondent, Lesai Mobile Technology (Beijing) Co., Ltd. (hereinafter “Lesai

  Mobile”), Second Respondent and QC Investment Ltd. (hereinafter the “Original Creditor”),

  which provided that the Original Creditor would purchase a convertible note issued by the

                                                  Exhibit 2
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  Debtor, in a principal amount of USD75,000,000 (hereinafter “Convertible Note I”), to mature

  on the second or third anniversary following the closing at the choice of the Original Creditor,

  the redemption price being the total principal of Convertible Note I then plus an annualized

  interest of 15%, compounded daily. The Debtor issued the Convertible Note to the Original

  Creditor on that same day.


              On June 3, 2015, the parties to the Purchase Agreement entered into a [Page 4]

  Supplementary Agreement (hereinafter “Supplementary Agreement I”), which provided that the

  redemption payment under the Purchase Agreement shall be paid in RMB, at the US dollar

  exchange rate published by the People’s Bank of China on the closing date.


              On June 3, 2015, Respondents jointly provided Claimant and the Original Creditor a

  Letter of Guarantee (hereinafter “Letter of Guarantee I”), expressly promising: Respondents

  shall have irrevocable joint guarantor obligations for the Debtor’s repayment obligations under

  Convertible Note I; in the event of the target company’s failure to timely perform its repayment

  obligations under the transaction documents (i.e., the Purchase Agreement, Convertible Note and

  Supplementary Agreement I), the Original Creditor shall have the right to transfer its creditor’s

  rights under the target company’s convertible note to Claimant, the transfer price to be jointly

  determined by Claimant and QC Investment. Such transfer of the creditor’s rights would not

  need the consent of any third party. After consummation of such transfer of the creditor’s rights,

  the target company should perform its repayment obligations to Claimant. The two Respondents

  provided irrevocable joint liability guarantee for the repayment obligations owed by the target

  company toward Claimant, and Claimant would have the right to directly demand both

  Respondents to perform such repayment obligations.




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              On July 7, 2015, the original creditor paid the Debtor an even USD75,000,000 through a

  bank wire transfer.


              On July 7, 2015, the parties to the Purchase Agreement entered into a second

  Supplementary Agreement (hereinafter “Supplementary Agreement II”) as a supplement to the

  Purchase Agreement, which provided that the original creditor would purchase a second

  convertible note, with a principal amount of USD5,000,000 (hereinafter “Convertible Note II”),

  with basically the same terms and conditions as set forth in the Purchase Agreement.


  [page 5]


              On July 7, 2015, Respondents provided a second Letter of Guarantee (hereinafter “Letter

  of Guarantee II”), promising to provide the creditor an irrevocable joint liability guarantee for

  the Debtor’s repayment obligations under Convertible Note II, with the same terms and

  conditions as Convertible Note I.


              On August 17, 2015, the Original Creditor paid the Debtor an even USD5,000,000

  through a bank wire transfer.


              Starting from March 13, 2017, the Original Creditor sent the Debtor several redemption

  notices, expressly demanding redemption of the two convertible notes on their maturity dates.

  On June 1, 2017, the Original Creditor entrusted the law firm Guantao & Chow (Hong Kong) to

  send the Debtor an attorney’s letter as well as a redemption notice, expressly notifying the

  Debtor that the Original Creditor was demanding redemption of the convertible notes, with the

  redemption price for Convertible Note I at USD97,500,000, i.e., RMB606,635,250, and the

  redemption price for Convertible Note II at USD6,500,000, i.e., RMB41,676,700. On that same

  day, the Original Creditor and Claimant jointly entrusted the law firm Guantao & Chow (Hong


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  Kong) to send an attorney’s letter to Respondents, notifying Respondents that the Original

  Creditor had sent a redemption notice to request the Debtor to pay the Original Creditor the

  redemption prices totaling RMB648,311,950, and demanding Respondents to urge the Debtor to

  make timely repayments, otherwise the Original Creditor would enforce Letter of Guarantee I

  and Letter of Guarantee II against Respondents and seek reimbursement from Respondents all

  expenses and fees incurred. In addition, starting from March 21, 2017, counsel for Claimant and

  the Original Creditor and counsel for Respondents met several times to discuss payment of the

  redemption prices for Convertible Note I and Convertible Note II, in an attempt to resolve the

  related dispute through amicable consultation, but to no avail.


  [page 6]


              In light of an ongoing barrage of news stories about Respondents and their affiliates and

  their litigation, various assets being frozen, failures to repay debt when due, disputes with their

  suppliers, lenders and investors, and liquidity crises, the Original Creditor had reasons to believe

  that the Debtor would be unable to timely redeem the convertible notes, so on July 4, 2017 it

  entered into a Deed of Assignment with Claimant to assign and transfer all of its rights, claims,

  interests and benefits under the Purchase Agreement, the two convertible notes, the two letters of

  guarantees and other transaction documents to Claimant.


              To protect Claimant’s legal rights, pursuant to the arbitration clause set forth in Section

  14 of the Purchase Agreement [“In the event of any dispute, controversy or, claim or difference

  of any kind whatsoever arising out of, relating to or in connection with this Agreement, including

  the existence, validity, interpretation, performance, breach or termination thereof, the validity,

  scope and enforceability of this arbitration provision and any dispute regarding no-contractual




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  obligations arising out of or relating to it (the ‘Dispute’), the parties hereto shall firstly consult

  and negotiate with each other to settle it in an amicable manner. If no settlement can be reached

  by the parties within 30 days of the occurrence of the Dispute, any party is entitled to submit, at

  its sole discretion, such dispute to the China International Economic and Trade Arbitration

  Commission (the ‘CIETAC’) for arbitration in Beijing in accordance with the then applicable

  arbitration rules of CIETAC”], Claimant thereby submitted an arbitration demand to CIETAC.


              Claimant made the following arbitration demands:


              1.     to order Respondents to pay the redemption prices for the convertible notes that

  were the subject of this dispute plus interest totaling RMB648,311,950;


              2.     to order Respondents to pay default interest on the above RMB648,311,950, to be

  calculated in accordance with the lending rate of the People’s Bank of China for the same period;

  or, the default rate or calculation period to be determined by the arbitrators in accordance with

  Sections 48 and 49, Cap. 4 of Hong Kong High Court Ordinance;


  [page 7]


              3.     to order Respondents to pay the attorneys incurred by Claimant in this case,

  including fees for Chinese attorneys (currently at RMB8,708,119) and fees for Hong Kong

  attorneys, currently at approximately HKD400,000, with the exact amounts to be in accordance

  with the amounts actually incurred;


              4.     to order Respondents to be responsible for all costs and expenses incurred in

  connection with this case, including, but not limited to, the arbitration fees and asset attachment

  fees, etc.; and



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              5.     other applicable remedies.


              During the hearing, Claimant changed the second arbitration demand to “to order

  Respondents to pay default interest on the above RMB648,311,950, to be calculated in

  accordance with the lending rate of the People’s Bank of China for the same period.”


              With regard to the above arbitration demands, Claimant made the following further

  explanations:


              1.     With respect to arbitration demand No. 1 in the Arbitration Demand, Claimant

  was asking the arbitral panel to order Respondents to jointly pay the redemption price for

  Convertible Note I under the Purchase Agreement entered into on June 3, 2015 totaling

  USD97,500,000, converted to RMB606,635,250 according to the selling exchange rate (every

  USD100 selling for RMB622.19) published by the People’s Bank of China on July 7, 2015; the

  redemption price for Convertible Note II under Supplementary Agreement II entered into on July

  7, 2015 totaling USD6,500,000, converted to RMB41,649,400 according to the selling exchange

  rate (every USD100 selling for RMB640.76) published by the People’s Bank of China on August

  17, 2015; totaling RMB648,284,650;


              2.     With respect to arbitration demand No. 2 in the Arbitration Demand, Claimant

  was asking the arbitral panel to order Respondents to jointly pay default interest on the above

  redemption price for Convertible Note I [page 8], accruing from July 7, 2017 (the redemption

  date for Convertible Note I), calculated at the current short-term (within one year, including one

  year) loan benchmark interest rate of 4.35% published by the People’s Bank of China, until the

  date of the actual payoff by Respondents, provisionally set at January 15, 2018, amounting to

  RMB13,881,144.13; and default interest on the above redemption price for Convertible Note II,



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  accruing from August 17, 2017 (the redemption date for Convertible Note II), calculated at the

  short-term (within one year) loan rate of 4.35% published by the People’s Bank of China, until

  the date of actual payoff by Respondents, provisionally set at January 15, 2018, amounting to

  RMB749,518.04; the two items provisionally totaling [RMB]14,630,662.17;


              3.     With respect to arbitration demand No. 3 in the Arbitration Demand, Claimant

  was asking the arbitral panel to order the two Respondents to jointly compensate Claimant for

  the attorneys’ fees incurred in connection with this case, including RMB8,708,119 in fees for

  attorneys in mainland China, and RMB767,293.30 in fees for attorneys in Hong Kong, totaling

  RMB9,475,412.30;


              4.     With respect to arbitration demand No. 4 in the Arbitration Demand, Claimant

  was asking the arbitral panel to order (1) the two Respondents to jointly compensate Claimant

  for the asset attachment fees, including RMB5,000 in attachment fee, and RMB972,467.93 in

  insurance premium paid for attachment of Respondents’ assets, totaling RMB977,467.93; and (2)

  the two Respondents to be responsible for the arbitration fee in this case.


              (ii)   Respondents’ Preliminary Defenses.


  [page 9]


              In their arbitration demands Nos. 2, 3 and 4 Claimant wanted Respondents to pay default

  interest, attorneys’ fees, be responsible for all the costs and expenses incurred because of this

  case. Such claims lacked basic support as Respondents were not obligated for default interest,

  attorneys’ fees or other costs and expenses.


              First, Claimant’s demands were not based on contract.



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              In this case, none of the Purchase Agreement, Supplementary Agreement and

  Supplementary Agreement II contained any agreement among the parties that Respondents

  would be liable for default interest or enforcement costs (attorneys’ fees and other costs and

  expenses incurred because of this case). Claimant’s demand to hold Respondents responsible for

  the above interest and costs and expenses should be premised on the parties having reached an

  understanding with regard to such interest or enforcement costs. Since the parties in this case had

  not reached such an understanding, Claimant was not entitled to payments by Respondents for

  default interest or enforcement costs such as attorneys’ fees.


              Second, Claimant’s demand for payments by Respondents of default interest, attorneys’

  fees and other costs and expenses effectively increased Respondents’ burden, in violation of the

  basic legal standard of fair dealing.


              The maturity dates for the two convertible notes in this case were July 7, 2017 and

  August 13, 2017, respectively. Claimant applied for arbitration prior to the July 5, 2017 maturity

  date for the convertible note and did not give Respondents an adequate opportunity for response

  and consultation. Such action on the part of Claimant showed failure to adhere to the basic

  principle of good faith in civil matters. All parties to a contract should have mentality of

  goodwill. When Claimant went ahead with the arbitration application and demanded

  Respondents to pay default [page 10] interest, attorneys’ fees, etc. prior to the maturity dates of

  the convertible notes, it was exploiting its advantageous position to make Respondents liable for

  huge extra costs, which was extremely unfair to Respondents. Such action of Claimant was

  obviously legally unsound and the arbitral panel should not approve such action.




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              Third, Claimant failed to provide admissible evidence to prove the incurrence of the fees

  and expenses.


              When a party to a contract asks the other party to reimburse enforcement expenses such

  as attorneys’ fees, etc., such party has to first prove that the parties have reached an agreement

  regarding reimbursement for such expenses and, then, if there has been such an agreement, such

  party still has to prove that such expenses have actually been incurred. In this case, Claimant

  only provided two engagement agreements, without delivering evidence of the actual payment of

  attorneys’ fees. Based upon the evidence available, there is no proof that the expenses such as

  attorney’s fees have already been incurred. Therefore, even if without considering the fact that

  the parties had not reached an understanding regarding reimbursement of expenses, Claimant is

  not entitled to demand that Respondents be held liable for the high amounts of expenses such as

  attorneys’ fees.


              Fourth, the attorneys’ fees claimed by Claimant were obviously excessive.


              Even if Respondents were liable for attorneys’ fees, the amounts still had to be

  reasonable. The attorneys’ fees claimed by Claimant were unreasonable and unlawful. Claimant

  demanded RMB8,708,119 for Chinese lawyers, current fees of HKD400,000 for Hong Kong

  lawyers, totaling over RMB9 million, which compared with the amount of RMB648,311,950 at

  issue in this case was obviously excessive. The attorneys’ fees claimed by Claimant exceeded the

  scope of reasonableness. If such a claim were to be granted, it would inappropriately increase the

  debtors’ financial burden. As such, such claim should be denied by the arbitral panel.


              (iii) Arguments by Claimant’s Counsel.


  [page 11]


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              Claimant’s counsel made the following additional arguments:


              1.     Under the relevant transaction documents Respondents were liable to Claimant

  for the redemption payments.


              On June 3, 2015, Claimant entered into a purchase agreement with the Debtor, Le Ltd.,

  First Respondent, Lesai Mobile, Second Respondent and the Original Creditor, which provided

  that the Original Creditor would purchase Convertible Note I issued by the Debtor. Section 2.1

  of the Purchase Agreement and Schedule 1 thereto set forth that principal amount of Convertible

  Note I at USD75,000,000; Section 7.2(a) provided, “The [Original Creditor] shall have the right

  to require the Company to redeem the Convertible Note on the Maturity Date or upon or

  immediately following the second-year anniversary of the Completion date at the Redemption

  Price (defined as below) by delivering a prior written notice (the ‘Redemption Notice’)”; Section

  7.2(c)(iii) provided, “The [Original Creditor] upon exercise of its redemption right shall have the

  right to redeem the Convertible Note at the Redemption Price, which is calculated as the total

  outstanding principal amount with respect to the Convertible Note, plus any accrued and unpaid

  interest at 15% per annum calculated by using the then outstanding principal amount multiplied

  by actual number of days elapsed since the Completion date divided by 365 days; the payment is

  to be made by cash, and the [Original Creditor] may request for the cash payment to come from

  [First Respondent] or other companies and institutions designated or owned by [First

  Respondent].”


              On June 3, 2015, the parties to the Convertible Note Purchase Agreement entered into

  Supplementary Agreement I, in which Section 1 provided, “The payments for Redemption Price

  made by relevant Parties under the Purchase Agreement shall be in RMB. The selling exchange




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  rates announced by the People’s Bank of China as at the Completion Date shall be used for the

  purpose of currency conversion.”


              On June 3, 2015, Respondents jointly provided Claimant and the Original Creditor [page

  12] Letter of Guarantee I, in which the fourth “whereas” clause stated, “In the event of the

  Debtor’s failure to timely perform its redemption obligation under the transaction documents [i.e.,

  the Purchase Agreement, Convertible Note and Supplementary Agreement I], [the Original

  Creditor] shall have the right to assign and transfer its creditor’s rights under the Convertible

  Note to [Claimant], the transfer price to be mutually determined between [Claimant] and [the

  Original Creditor]. Such assignment of the creditor’s rights will not require the approval of any

  third party. After such assignment of creditor’s rights, [the Debtor] shall perform its repayment

  obligation to [Claimant].” Section 1 of Letter of Guarantee I provided, “[Respondents] hereby

  provide an irrevocable joint liability guarantee for the cross-border repayment obligations of [the

  Debtor] [i.e., the Debtor’s obligation to repay Claimant under the transaction documents for the

  convertible note], and once such repayment obligation becomes due, [Claimant] shall be entitled

  to directly demand the guarantors to perform their cross-border repayment obligations and the

  guarantors shall at that time perform cross-border repayment obligations on behalf of the target

  company in accordance with [Claimant’s] demand.”


              On July 7, 2015, the Original Creditor paid the Debtor an even USD75,000,000 through a

  bank transfer.


              On July 7, 2015, the parties to the Purchase Agreement entered into Supplementary

  Agreement II, which provided that the Original Creditor would purchase Convertible Note II

  issued by the Debtor. The third “whereas” clause of Supplementary Agreement II provided that




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  the principal amount of Convertible Note II was to be USD5,000,000; as provided in Section 6,

  except as otherwise repealed, terminated or amended by Section 1, 2, 3, 4 and 5 of this

  Supplementary Agreement II, the Purchase Agreement and any other terms and provisions

  thereof should remain in full force and effect.


              On July 7, 2015, the two Respondents provided a second Letter of Guarantee (hereinafter

  “Letter of Guarantee II”), promising an irrevocable joint liability guarantee for the Debtor’s

  repayment obligation under Convertible Note II, under the same terms and conditions [page 13]

  as under Letter of Guarantee I.


              On August 17, 2015, the Original Creditor paid the Debtor an even USD5,000,000

  through a bank transfer.


              Starting from March 13, 2017, the Original Creditor sent several redemption notices to

  the Debtor, expressly demanding redemption of the two convertible notes on their maturity dates.

  On June 1, 2017, the Original Creditor entrusted the law firm Guantao & Chow (Hong Kong) to

  send the Debtor an attorney’s letter as well as a redemption notice, expressly notifying the

  Debtor that the Original Creditor was demanding redemption of the convertible notes. On that

  same day, the Original Creditor and Claimant jointly entrusted the law firm Guantao & Chow

  (Hong Kong) to send an attorney’s letter to Respondents, notifying Respondents that the Original

  Creditor had sent a redemption notice to request the Debtor to pay the Original Creditor the

  redemption prices, and demanding Respondents to urge the Debtor to make timely repayments,

  otherwise the Original Creditor would enforce Letter of Guarantee I and Letter of Guarantee II

  against Respondents and seek reimbursement from Respondents for all expenses and fees

  incurred. In addition, starting from March 21, 2017, counsel for Claimant and the Original




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  Creditor and counsel for Respondents met several times to discuss payment of the redemption

  prices for Convertible Note I and Convertible Note II, in an attempt to resolve the related dispute

  through amicable consultation, but to no avail.


              On July 7, 2017, the Original Creditor and Claimant entered into a Deed of Assignment,

  in which Section 1.1 provided that “In consideration of the premises, with the effect on and from

  the date of this Deed and subject to the terms and conditions of this Deed, the Assignor hereby

  assigns and transfers to the Assignee absolutely of all the Assignor’s rights, titles, interests,

  advantage and benefits of and in otherwise deriving from each of the Purchase Agreement, the

  Convertible Notes, the Deed of Undertaking and any other Transaction Documents (as

  applicable).”


  [page 14]


              Therefore, the Debtor had the obligation to pay the Original Creditor the respective

  redemption prices for Convertible Note I and Convertible II when due pursuant to the Purchase

  Agreement, Supplementary Agreement II and other related transaction documents. Since the

  Debtor had failed to perform the above repayment obligations, Respondents should, pursuant to

  Letter of Guarantee I, Letter of Guarantee II and the assignment of creditor’s rights under the

  Deed of Assignment, be liable to Claimant for the above obligation to pay the redemption prices

  and for the damages suffered by Claimant, and Respondents should be jointly liable for such

  payment obligations.


              2.     Hong Kong law is the governing law in this case.


              Section 14.1 of the Purchase Agreement provided, “THIS AGREEMENT TOGETHER

  WITH OTHER BASIC DOCUMENTS SHALL BE GOVERNED BY, AND CONSTRUED IN


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  ACCORDANCE WITH THE LAWS OF THE HKSAR [Hong Kong Special Administrative

  Region] APPLICABLE TO CONTRACTS TO BE PERFORMED WHOLLY WITHIN SUCH

  JURISDICTION, WITHOUT REGARD TO THE PRINCIPLES OF CONFLICTS OF LAW OF

  ANY JURISDICTION.”


              Section 7 of Supplementary Agreement I provided, “This Agreement shall be governed

  by and construed exclusively in accordance with the laws of the Hong Kong Special

  Administrative Region of China (‘Hong Kong’) without giving effect to any choice of law rule

  that would cause the application of the laws of any jurisdiction other than Hong Kong to the

  rights and duties of the parties hereunder.”


              Section 5 of Letter of Guarantee I provided, “This letter shall be governed by and

  construed in accordance with the laws of Hong Kong.”


              Section 10 of Supplementary Agreement II provided, “Governing Law. This

  Supplementary Agreement II shall be governed by and construed exclusively in accordance with

  the laws of the Hong Kong Special Administrative Region of China (‘Hong Kong’) without

  giving effect to any choice of law rule that would cause the application of the laws of any

  jurisdiction other than Hong Kong to the rights and duties of the parties hereunder.”


              Section 5 of Letter of Guarantee II provided, “This letter shall be governed by and

  constructed in accordance with the laws of Hong Kong.”


              Therefore, the contracts and other legal documents at issue in this case have all expressly

  provided that the laws of Hong Kong would be the governing law, so Hong [page 15] Kong law

  should also be the governing law in this arbitration.




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              Rule 10 of the Law of the Application of Law of the People’s Republic of China on

  Governing Laws in Foreign-related Civil Matters provides: “Foreign laws applicable to foreign-

  related civil matters shall be ascertained by the People’s Court, arbitration institution or

  administrative body. If any party selects any foreign law as the governing law, it shall provide

  the law of such country. If the foreign law cannot be ascertained or there is no applicable

  provision in the law of such country, the laws of the People’s Republic of China shall be applied.”

  Therefore, Claimant retained Hong Kong barrister Vod K.S. Chan to provide, on January 12,

  2018, a letter captioned “Re: CIETAC Case No. X20170753, Legal Opinion on Governing Law,

  Validity, Enforceability, Interest, Fees and Other Aspects Under Hong Kong Law” (hereinafter

  the “Hong Kong Legal Opinion”), as a professional opinion for the arbitral panel’s

  ascertainment of Hong Kong law and application of Hong Kong law.


              3.     Calculation of the redemption prices.


              Pursuant to the provisions in the Purchase Agreement, the redemption price for

  Convertible Note I was USD75,000,000 multiplied by an annual interest of 15% multiplied by

  two years, or USD97,500,000. Pursuant to Section 1 of Supplementary Agreement I, the

  exchange rate will be calculated according to the selling exchange rate published on the closing

  day by the People’s Bank of China. Since the exchange rate published by the People’s Bank of

  China is the mean price, calculated according to the selling exchange rate of per USD100 for

  RMB622.19 published by the People’s Bank of China on July 7, 2015 (the closing date for

  Convertible Note I) at the closing time (16:30 on that day), the above redemption price of

  USD97,500,000 for Convertible Note I should be converted to RMB606,635,250.




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              Pursuant to the provisions in Supplementary Agreement II, the redemption price for

  Convertible Note II [page 16] was USD5,000,000 multiplied by an annual interest rate of 15%

  multiplied by two years, or USD6,500,000. Calculated based upon the formula set forth in

  Section 1 of Supplementary Agreement I as well as the selling exchange rate of per USD100 for

  RMB640.76 published by the People’s Bank of China on August 17, 2015 (the closing date for

  Convertible Note II) at the closing time (16:30 on that day), the above redemption price of

  USD6,500,000 for Convertible Note II should be converted to RMB41,649,400.


              4.     Calculation of default interest.


              Since the Debtor has failed to perform its obligation to redeem Convertible Note I from

  its redemption date (July 7, 2017) and its obligation to redeem Convertible Note II from its

  redemption date (August 17, 2017) following receipt of the attorney’s letter and redemption

  notice sent by Claimant’s counsel Guantao & Chow (Hong Kong) on June 1, 2017, the default

  interest on the respective redemption prices for Convertible Note I and Convertible Note II

  should accrue starting on the respective applicable redemption dates through the date of actual

  payment by Respondents.


              Calculated based upon the current short-term (within one year, including one year) loan

  benchmark interest rate of 4.35%, the default interest for the redemption price for Convertible

  Note I should accrue from the redemption date for Convertible Note I (July 7, 2015) through the

  date of actual payment by Respondents, provisionally set at January 15, 2018, amounting to

  RMB13,881,144.13; the default interest for the redemption price for Convertible Note II should

  accrue from the redemption date for Convertible Note II (August 17, 2015) through the date of




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  actual payment by Respondents, provisionally set at January 15, 2018, amounting to

  RMB749,518.04; the two items totaling [page 17] RMB14,630,662.17.


              5.     Respondents should be liable to Claimant for the other damages suffered and

  costs incurred by Claimant because of this case.


              Section 10.1 of the Purchase Agreement provided, “Scope of Indemnification. Each Party

  (an ‘Indemnifying Party’) shall indemnify and hold the other Parties and their directors, officers

  and agents (collectively, the ‘Indemnified Party’) harmless from and against any losses, claims,

  damages, liabilities, judgments, fines, obligations, expenses and liabilities of any kind or nature

  whatsoever, including but not limited to any investigative, legal and other expenses incurred in

  connection with, and any amounts paid in settlement of, any pending or threatened legal action

  or proceeding, but excluding consequential damages, special or incidental damages, indirect

  damages, punitive damages, lost profits, and diminution in value (collectively, ‘Losses’)

  resulting from or arising out of: (i) the breach of any warranty of such Indemnifying Party

  contained in the Basic Documents or in any schedule or exhibit hereto determined without regard

  to any materiality qualifier therein; or (ii) the violation or nonperformance, partial or total, of any

  covenant or agreement of such Indemnifying Party contained in the Basic Documents for reasons

  other than gross negligence or willful misconduct of the Indemnified Party. The Company, the

  WFOE and the Owner shall jointly and severally indemnify the Investor and its directors,

  officers, and agents harmless and against any Losses resulting from or arising out of: (i) the

  breach of any warranty of the Company, the WFOE and the Owner contained in this Agreement

  or in any schedule or exhibit hereto determined without regard to any materiality qualifier therein;

  or (ii) the violation or nonperformance, partial or total, of any covenant or agreement of the

  Company, the WFOE or the Owner contained in this Agreement for reasons [page 18] other than


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  gross negligence or willful misconduct of the Indemnified Party. In calculating the amount of

  any Losses of an Indemnified Party hereunder, there shall be subtracted the amount of any

  insurance proceeds and third-party payments received by the Indemnified Party with respect to

  such Losses.”


              Since the Debtor has failed to timely pay the Original Creditor or Claimant the

  redemption prices, the costs and expenses incurred by Claimant to take legal actions to enforce

  its creditor’s rights should be deemed indemnified “Losses” set forth in Section 10.1 of the

  Purchase Agreement. Meanwhile, according to the Hong Kong Legal Opinion, due to

  Respondents’ failure to perform the Purchase Agreement and pay the redemption prices, they

  should be required to pay Claimant for its losses pursuant to the above provision in Section 10.1.


              Since Claimant, to protect its creditor’s rights, has applied to the Third Intermediate

  People’s Court of Beijing for attachment of Respondents’ assets, incurring an asset attachment

  fee of RMB5,000 and a premium of RMB972,467.93 paid to Huaan Property Insurance Co., Ltd.

  for asset attachment bond, which should be deemed as indemnified losses described above.


              In addition, in enforcing its creditor’s rights, Claimant retained lawyers in mainland

  China and Hong Kong, incurring attorneys’ fees, which should be deemed indemnified losses

  described above.


              6.      Calculation of attorneys’ fees.


              According to the Hong Kong Legal Opinion, in applying Hong Kong law, all the

  attorneys’ fees of lawyers in mainland China and Hong Kong incurred by Claimant could be

  claimed from Respondents under Hong Kong law.




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              Since the mainland China law firm Beijing [page 19] Guantao Zhongmao (Shanghai) is a

  law firm established and operating in Shanghai under Chinese law, the engagement agreement

  (including the provision therein about attorneys’ fees) entered into between such firm and

  Claimant is governed by Chinese law.


              Rule 8 of Shanghai Legal Fee Regulations promulgated by Shanghai Development and

  Reform Commission and Shanghai Justice Bureau on January 26, 2017 provides: “Legal fee

  rates under government price guidance should be implemented in accordance with the Shanghai

  Government Price Guide for Legal Fees (see Appendix I). Where the government price guide

  requires any adjustment, such adjustment shall be made and publicized by the municipal price

  control department in conjunction with the municipal judicial administrative department in

  accordance with applicable procedures. Law firms should agree on the fees rates for specific

  matters with their clients within the range of the government price guide. For major, difficult,

  complex litigation matters (see Appendix II), upon mutual agreement between the law firm and

  its client, the fee rates may be increased up to five times (including five times) the standard rates.”

  Section 2 of Appendix I “Shanghai Government Price Guide for Legal Fees” attached to the

  Regulations provides: “For any representation involving property matters, the fees may be set

  according to the amount involved in such representation in a gradual cumulative fee schedule as

  follows: for the portion below RMB100,000 (including RMB100,000), the fee will be 8%~12%,

  for fees below RMB3,000, the collection can be RMB3,000; for the portion above RMB100,000

  through RMB1,000,000 (including RMB1,000,000), the fee will be 5%~7%; for the portion

  above RMB1,000,000 through RMB10,000,000 (including RMB10,000,000), the fee will be

  3%~5%; for the portion above RMB10,000,000 through RMB100,000,000 (including

  RMB100,000,000), the fee will be 1%~3%; for the portion above RMB100,000,000, the fee will



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  be 0.5%~1%.” The amount at issue in this case (including the redemption prices, default interest

  and asset attachment fees) total [page 20] RMB663,892,780.10; in accordance with the above

  gradual cumulative fee schedule, the range of the legal fees would be between RMB4,042,463

  and RMB8,863,927.


              Meanwhile, since this case has Hong Kong law as the governing law and concerns more

  than three sets of legal relationships, it is a “major, difficult and complex litigation matter” as

  defined in Section 1 of Appendix II “Rules for Determination of Major, Difficult and Complex

  Litigation Matters in Charging Legal Fees” attached to the Regulations. According to the

  provisions in the Regulations, applying a five-times multiplier of the standard rates, the range of

  the attorneys’ fees will be between RMB20,213,315 and RMB44,319,635.


              Considering that this case applies Hong Kong law and concerns multiple legal

  relationships, the difficulty and complexity are substantial, and the transaction documents at

  issue were almost all drafted in English and all the English documents had to be translated after

  the arbitration language was changed to Chinese, the workload for counsel was tremendous.

  Therefore, the attorneys’ fees of RMB8,708,119 set forth in the engagement agreement between

  Claimant and Beijing Guantao Zhongmao (Shanghai) Law Firm was completely within the fee

  ranges as provided in Shanghai Legal Fee Regulations and was in fact at the lower end of such

  fee ranges, in compliance with the applicable rules.


              In addition, since the Hong Kong law firm Guantao & Chow (Hong Kong) retained by

  Claimant for this case was a law firm established and operating under Hong Kong law, the

  engagement agreement (including the provision therein about attorneys’ fees) entered into

  between such firm and Claimant and the invoices issued by such firm should be governed by



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  Hong Kong law. Claimant and Guantao & Chow (Hong Kong) agreed in the engagement

  agreement that the legal fees would be based upon the time incurred, in compliance with the

  applicable rules of Hong Kong law.


  [page 21]


              In summary, Claimant’s arbitration demands are reasonable and legal and Claimant prays

  for an award by the arbitral panel of all the remedies demanded by Claimant.


              (iv)   Argument by Respondents.


              With respect to applicability of Hong Kong law to the liability for and rates of attorneys’

  fees, Respondents made the following argument:


              Respondents think that the governing law applicable to the issue of whether there is

  liability for attorneys’ fees and the fee standard in this case should be consistent with the

  governing law applicable to this case, i.e., Hong Kong law should be consistently applied.

  Section 14.2(b) of the Purchase Agreement between Claimant and Respondents clearly provided

  that the governing law was Hong Kong law. Second Respondent petitioned in October 2017 to

  change the governing law to the laws of the People’s Republic of China to facilitate the

  adjudication. In its November 2, 2107 reply, Claimant unambiguously refused to have the

  governing law in this case changed to the laws of the People’s Republic of China and insisted on

  Hong Kong law as the governing law. Since the parties did not reach an agreement as to the

  change of the governing law, the arbitral panel decided that Hong Kong law would be the

  governing law in this case.




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              In this case, the issues of whether Respondents should be liable for expenses incurred to

  enforce creditor’s rights such as the attorneys’ fees and attachment bond premium and of

  whether the charge of such expenses was reasonable were the focus of the dispute between the

  parties, were major issues concerning the determination of the scope of Respondents’ liabilities,

  and were the core issues. Since Claimant had repeatedly insisted on Hong Kong law as the

  governing law, Hong Kong law should be applied to all the liability issues and legal issues in this

  case, specifically, Hong Kong law should be applied in determining whether to make

  Respondents liable for such expenses, Hong Kong law should be applied in determining the cap

  on the enforcement expenses (including without limitation the attorneys’ fees) [page 22] for

  which Respondents should be liable, Hong Kong law should be applied in determining whether

  the rates for the attorneys’ fees Claimant is seeking from Respondents were reasonable and

  necessary.


              Respondents separately submitted its counsel’s argument as follows:


              Claimant in items 2, 3 and 4 of its arbitration demand requested to order Respondents to

  pay default interest, pay attorneys’ fees and be liable for all the costs and expenses incurred

  because of this case. Such demands lack support in contract or in law and are contrary to the

  fundamental principle of fairness and, as such, should be rejected.


              First, the above arbitration demands of Claimant lack support in contract or in law and

  Claimant should be responsible for the adverse consequences of its failure of proof.


              For Claimant to demand to hold First Respondent and Second Respondent liable for costs

  and expenses incurred in enforcement of creditor’s rights such as default interest and attorneys’

  fee, Claimant must first provide evidence to prove that Claimant and Respondents had reached



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  an agreement regarding the responsibility for the above expenses. However, in this case, none of

  the Purchase Agreement, Supplementary Agreement I and Supplementary Agreement II

  contained any agreement of the parties to make Respondents liable for default interest and

  enforcement expenses (attorneys’ fees, all the expenses and costs incurred because of this case,

  etc.) and the parties to those agreements did not reach a clear agreement regarding this.


              At the arbitration hearing, Claimant requested to hold Respondents liable for such

  expenses pursuant to Section 10.1 “Scope of Indemnification.” But the agreement in Section 10.1

  had no connection with the matters requested by Claimant. The provision was: “Each Party (an

  ‘Indemnifying Party’) shall indemnify and hold the other Parties and their directors, officers and

  agents (collectively, the ‘Indemnified Party’) harmless from and against any losses, claims,

  damages, liabilities, judgments, fines, obligations, expenses and liabilities of any kind or nature

  whatsoever…” Based upon a reasonable person’s [page 23] understanding of this provision,

  what was agreed to in Section 10.1 was that each party should be obligated to protect the other

  parties from losses, rather than an agreement to make a party fully liable for expenses incurred

  by the other parties. It is obviously improper for Claimant to wantonly deduce from the above

  provision Respondents’ liability for the full amount of the losses and such expanded

  interpretation should not be made. Furthermore, the obligations applicable to the parties under

  that provision should be with respect to the effect and content of the executed agreement,

  requiring each party to indemnify the other parties from claims arising from the execution, effect

  or breach of the agreement, not including the claim by Claimant for Respondents to pay default

  interest or be liable for expenses. Moreover, even if Section 10.1 provided that each party would

  indemnify the other parties from losses, that section also expressly provided “ excluding

  consequential damages, special or incidental damages, indirect damages, punitive damages, lost



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  profits, and diminution in value,” i.e., the indemnifying party will not be liable for any

  consequential damage, special or incidental damage, indirect damage, punitive damage, lost

  profit, and diminution in value. The default interest and enforcement expenses such as attorneys’

  fees claimed by Claimant obviously belong to the above excluded liabilities.


              The most fundamental premise for Claimant’s claim of Respondents’ liabilities for the

  above default interest and costs and expenses should be the parties having reached an agreement

  on default interests and enforcement expenses. Yet, as discussed above, the parties in this action

  did not have such an agreement, so Claimant is not entitled to demand that Respondents be held

  liable for the default interest and enforcement expenses such as attorneys’ fees pursuant to the

  Purchase Agreement.


              Without the parties having previously reached an agreement, there is no provision under

  Hong Kong law regarding a debtor’s liability for default interest or enforcement expenses.

  Claimant as [page 24] the requesting party bears the burden to present the legal authority or case

  precedents in support of its demand. However, Claimant has failed to provide any so far, so

  Claimant should suffer the consequences of its failure of proof. Therefore, the demands by

  Claimant lack support in the underlying agreement or law and the arbitral panel should reject its

  claims.


              Second, Claimant’s claims for Respondents’ liabilities for the default interest and

  expenses such as attorneys’ fees have virtually increased Respondents’ financial burden, in

  violation of the basic legal principles of justice and fairness.


              The closing dates for the two convertible notes in this case were respectively July 7, 2015

  and August 17, 2015. According to Section 7.2(c)(ii), the corresponding redemption dates for



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  these convertible notes would respectively be July 7, 2017 and August 17, 2017. Claimant

  submitted its arbitration application with respect to both convertible notes before the first

  convertible note became due, depriving Respondents an opportunity of reaction and consultation.

  Any party to a contract should act from goodwill. It is extremely unfair to Respondents for

  Claimant to directly apply for arbitration prior to the due dates for the convertible notes and to

  ask Respondents to pay default interest and enforcement expenses such as attorneys’ fees,

  exploiting its advantageous position to make Respondents liable for huge amounts of extra costs.

  Claimant’s conduct is obviously contrary to law and the arbitral panel should not support such

  conduct.


              In addition, in this case, Claimant partook in the investment project as an investor and

  was already entitled to high interest. As such, Claimant should be responsible for the expenses

  incurred that may arising from its investment failure, rather than unjustifiably shifting the burden

  of all expenses to Respondents, in violation of the basic principle of proportionality between

  rights and obligations. At the time when the Purchase [page 25] Agreement, the supplementary

  agreements and other documents were entered into, Respondents, as the borrowers and

  guarantors, were the weak side, which already promised a high interest rate in order to obtain

  badly needed loans. In exchange for the capital Respondents already paid tremendous costs and

  bore tremendous risks. Under such circumstances, to further make Respondents liable for default

  interest and enforcement expenses such as attorneys’ fees has further exacerbated Respondents’

  burden, creating extreme inequality and harm to contractual fairness and equality. The arbitral

  panel should provide appropriate balancing to the actual inequality between the parties to the

  transaction and adjust unreasonable rights and obligations and risk sharing in its adjudication, so

  as to achieve substantive justice.



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              Third, currently Claimant has not provided any effective evidence to prove expenses such

  as attorneys’ fees and attachment bond premium, and also some of the expense amounts claimed

  by Claimant are obviously unreasonable.


              When a party to a contract asks the other party to be responsible for enforcement

  expenses such as attorneys’ fees, it must prove that both parties had reached an agreement with

  regard to such expenses and then, if there is an agreement, must also prove that such expenses

  have already been incurred. In this case, the parties did not have such an agreement, so Claimant

  has no right to claim from Respondents the enforcement expenses such as attorneys’ fees. Even

  if we were to assume for argument’s sake that Respondents were liable for expenses such as

  attorneys’ fees, Claimant has not provided powerful evidence to prove that such expenses have

  indeed been incurred, not to mention that the various expenses claimed by Claimants are

  obviously unreasonable.


              1.     Regarding the attorneys’ fees, Claimant is asking Respondents to pay

  RMB8,708,119 in fees for Chinese attorneys and HK$400,000 in fees for Hong Kong attorneys,

  totaling [page 26] over RMB9,000,000. Such demand should be rejected.


              (1)    At the arbitration hearing, Claimants only provided two engagement agreements,

  without any evidence of the actual attorneys’ fees incurred. After Respondents submitted its

  Preliminary Defense Argument on December 4, 2017 which disputed the incurrence of the fees,

  Claimant submitted the following supplemental evidence to prove the amounts of the attorneys’

  fees prior to the commencement of the arbitration hearing: an invoice for attorneys’ fees in the

  amount of RMB8,708,119 issued on December 5, 2017 by Beijing Guantao Zhongmao

  (Shanghai) Law Firm engaged by Claimant; a billing statement of the hours incurred by




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  attorneys issued by Guantao & Chow (Hong Kong) on November 29, 2017; a statement in the

  amount of RMB180,000 issued on December 5, 2017; payment receipts for Claimant’s payments

  of RMB180,000 and RMB2,100,000 to Beijing Guantao Zhongmao (Shanghai) Law Firm.

  Respondents’ counsel thinks that the above evidence is obviously insufficient proof and fails to

  prove that the high amounts of attorneys’ fees have already been incurred.


              First, since the legal fee invoice issued by Beijing Guantao Zhongmao (Shanghai) Law

  Firm, the service fee statement issued by the Hong Kong attorneys and the confirmations of

  payments made by Claimant were all prepared after Respondents had submitted their preliminary

  rebuttals, counsel has reasons to believe that the issuance of such evidentiary documents was

  intended to claim huge fees from Respondents and were not based upon facts. Second, the Bank

  of China confirmations for domestic payments can only prove that Claimant made two payments

  to Beijing Guantao Zhongmao (Shanghai) Law Firm, but not these expenses had been incurred

  because of this case. Furthermore, it is a common practice of the industry for law firms to issue

  receipts prior to payments by their clients, so the receipt for RMB8,708,119 in legal fees cannot

  prove that such fees have already been incurred.


  [page 27]


              (2)    The attorneys’ fees claimed by Claimant are obviously too high and, as such,

  should be rejected by the arbitral panel. As agreed between Claimant and Respondents, this case

  is governed by the laws of Hong Kong, so in determining whether Respondents should be liable

  for attorneys’ fees, in determining the cap on the attorneys’ fees for which Respondents should

  be liable, and in determining whether the attorneys’ fees claimed by Claimant are reasonable, the

  arbitral panel should apply the laws of Hong Kong. According to Hong Kong case precedents



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  and industry practice for charging legal fees, Hong Kong lawyers charge fees based upon the

  hours worked, regardless of the amount in controversy, and definitely not as a percentage thereof.

  Since this case is governed by Hong Kong law, the amount of attorneys’ fees for which

  Respondents should be liable should be subject to Hong Kong’s legal fee charging practice and

  be determined in accordance with the average legal fee rates in Hong Kong. As the attorneys’

  fees in the amount of RMB8,708,119 claimed by Claimant were calculated as a higher

  percentage of the amount in controversy in accordance with the Shanghai Government Guideline

  for Legal Fees, they should be rejected by the arbitral panel.


              Section 2 of Article 52 of the Arbitration Rules provides, “In deciding whether or not the

  winning party’s expenses incurred in pursuing the case are reasonable, the arbitral tribunal shall

  take into consideration various factors such as the outcome and complexity of the case, the

  workload of the winning party and/or its representative(s), the amount in dispute, etc.” In this

  case, the legal relationships are relatively simple without much controversy and the actual

  workload of the attorneys has been relatively small. Considering the overall case, based upon the

  above provision, the arbitral panel should reject Claimant’s demand to make Respondents liable

  for an exorbitant amount of attorneys’ fees.


              2.     With regard to the premium for the asset attachment bond, Claimant is asking

  Respondents to pay RMB5,000 in court attachment fee and over [page 28] RMB970,000 in third

  party bond premium. Such demand should be rejected.


              Section 100(2) of the Civil Procedures of the People’s Republic of China provides, “In

  adopting asset attachment measures, a People’s Court may order the applicant to provide a bond;

  if the applicant is unable to provide a bond, the application shall be dismissed.” According to this




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  provision, when Claimant applied to the court for asset attachment, it was enforcing its litigation

  right, so providing a bond as required by the court was an obligation it had to perform. After

  submitting its application for attachment, Claimant paid the People’s Court RMB5,000 as

  attachment fee under the law and now is asking Respondent to be liable for such fee. At the same

  time Claimant is also asking Respondent to be liable for the RMB970,000 in premium paid to an

  insurer to issue the bond. Such demand is obviously improper.


              (1)   As Claimant and Respondents did not reach an agreement as to liabilities for bond

  premiums, Respondents should not be liable for such.


              (2)   The bond premium of over RMB970,000 paid to a third-party insurer was not

  required by law. The payment had no necessary connection with this case or Respondents. Such

  premium was not absolutely necessary or mandatory and, as such, should never become

  Respondents’ responsibility. When Claimant applied for attachment, it was required to post a

  bond, rather than having a third-party insurer issue a bond. Rule 4 of Beijing People’s High

  Court Rules on Asset Attachment (Provisional) clearly provides: “In applying for attachment, the

  applicant may provide the following bonds: (A) an -in-kind bond or cash bond provided by the

  applicant; (B) a credit bond, in-kind bond or cash bond provided by a third party; (C) a credit

  bond issued by a professional bond company.” Accordingly, the kinds of bonds acceptable to the

  court are [page 29] multiple, a bond issued by a third-party insurer is not the only method, and

  Claimant could absolutely have adopted other methods in posting the attachment bond. For its

  own reasons Claimant elected to have a third-party insurer issue a bond. Under such

  circumstances, Claimant should naturally be responsible for the fees incurred. Even if the parties

  had reached an agreement about the Debtor’s liability for enforcement expenses, Respondents

  should only be liable for the absolutely necessary expenses incurred in enforcement, rather than


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  being held liable for the expenses squandered by Claimant. The parties in this case had not

  reached an agreement as to the liabilities for expenses and definitely should not be liable for the

  extra, unnecessary bond premium claimed by Claimant.


              (v)    Evidence Presentation and -Examination by the Parties.


              Together with its arbitration application (in English), Claimant also submitted 12 pieces

  of documentary evidence, including Exhibit 1: Convertible Note Purchase Agreement (in

  English), Exhibit 2: Convertible Note I (in English), Exhibit 3 Supplementary Agreement I (in

  English), Exhibit 4: Deed of Undertakings and Guarantees I (in Chinese); Exhibit 5: Application

  for Remittance I (in both Chinese and English), Exhibit 6: Supplementary Agreement II (in

  English), Exhibit 7: Deed of Undertakings and Guarantees II (in Chinese), Exhibit 8: Application

  for Remittance II (in both Chinese and English), Exhibit 9: Redemption Notices (one in Chinese

  and one in English, two documents in total), Exhibit 10: Lawyers Letters (in both Chinese and

  English, three documents in total) and Delivery Vouchers (in both Chinese and English, two

  documents in total), Exhibit 11: Deed of Assignment, Exhibit 12: Engagement Agreements (one

  in both Chinese and English, one in English, two documents in total).


  [page 30]


              After the arbitration language was changed to Chinese, Claimant submitted seven pieces

  of documentary evidence (in Chinese), including Exhibit 1: Convertible Note Purchase

  Agreement, Exhibit 2: Convertible Note (i.e., Convertible Note I), Exhibit 3: Supplementary

  Agreement (i.e., Supplementary Agreement I), Exhibit 5: Assignment Agreement, Exhibit 6:

  invoices and receipts issued of Beijing Guantao Zhongmao (Shanghai) Law Firm, Exhibit 7:

  invoices and payment confirmations of Guantao & Chow (Hong Kong. During the arbitration



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  hearing, Respondents conducted their examination of the above seven pieces of evidence (in

  Chinese).


              After the arbitration hearing was concluded, Claimant submitted to the arbitral panel

  seven pieces of supplemental evidence (in Chinese), including Exhibit 1: Hong Kong Legal

  Opinion (including attachments), Exhibit 2: proof of the U.S. dollar cash selling rates published

  by the People’s Bank of China, Exhibit 3: short-term loan benchmark interest rates, Exhibit 4:

  notice of the Third Intermediate People’s Court of Beijing for payment of asset attachment fees

  and payment receipt, Exhibit 5: policy for asset attachment bond, invoice and payment receipt

  issued by Huaan Property Insurance Co., Ltd., Exhibit 6: receipts for payments of legal fees of

  Beijing Guantao Zhongmao (Shanghai) Law Firm, Exhibit 7: invoices and payment receipts of

  Guantao & Chow (Hong Kong). Respondents conducted their examination of the above seven

  pieces of supplemental evidence.


              Respondents did not submit any documentary evidence to the arbitral panel.




                               II. OPINION OF THE ARBITRAL PANEL


              In accordance with the provisions of applicable law and judicial interpretations, based

  upon the facts of this case, the application, rebuttals, evidence and evidentiary examination

  submitted by the parties on both sides, the arbitral panel issues the following opinion:


  [page 31]


              (i)    The Governing Law for This Dispute




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              In accordance with the provision in Rule 1 of Interpretation by the Supreme People’s

  Court of Certain Issues in Applying the Law of the People’s Republic of China on Governing

  Laws in Foreign-related Civil Matters (1), “Any civil matter having any of the following

  circumstances may be deemed by the People’s Court as a foreign-related civil matter: (A) either

  or both of the parties are foreign citizens, foreign legal persons, other entities or stateless persons;

  (B) the permanent residency of either or both of the parties is outside the People’s Republic of

  China; (C) the property in controversy is outside the People’s Republic of China; (D) the legal

  facts giving rise to, changing or extinguishing the civil matter occurred outside the People’s

  Republic of China; (E) any other circumstance that may be determined as a foreign-related civil

  matter.” In this case, although all the parties are Chinese natural persons or legal persons and

  maintain permanent residency in China, the issuance and purchase of the convertible notes all

  occurred outside mainland China, meeting the criterion that “the legal facts giving rise to,

  changing or eliminating civil matters occurred outside the People’s Republic of China.”

  Therefore, this case has foreign-related elements.


              In accordance with the provision in Rule 41 of the Law on Governing Laws in Foreign-

  related Civil Matters, “the parties may select the governing law through contract. Where the

  parties have not made such selection, the governing law shall be the law of the permanent

  residency of the party whose performance of obligations can best epitomize the contract or other

  law that is most closely associated with the contract. In this case, pursuant to Section 1 of the

  letters of guarantee (Guarantee I and Guarantee II), “the guarantors hereby provide an

  irrevocable joint liability guarantee for the cross-border repayment obligations of the Target

  Company, and once [page 32] such repayment obligation becomes due, [Claimant] shall be

  entitled to directly demand the guarantors to perform their cross-border repayment obligations



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and the guarantors shall at that time perform cross-border repayment obligations on behalf of the

target company in accordance with [Claimant’s] demand.” Accordingly, Claimant’s claims

against Respondents are specifically based upon these two Letters of Guarantee. Section 5 in

both Letter of Guarantee I and Letter of Guarantee II provided: “This letter shall be governed by

and interpreted in accordance with the laws of Hong Kong.” Therefore, Claimant and

Respondents have expressly agreed to Hong Kong law as the governing law for this dispute. In

the Opinion on Changing the Governing Law to the Laws of the People’s Republic of China they

submitted, Respondents requested to have the governing law of this case changed to the laws of

mainland China, but Claimant expressly refused any change of the governing law in the Reply

Letter on Change of the Governing Law it submitted. Therefore, the laws of Hong Kong should

be the governing law for the substantive dispute in this case.


            (ii)   The Effectiveness of the Underlying Agreements of This Case.


            With regard to the effectiveness of the underlying agreements of this case, Convertible

Note Purchase Agreement, Supplementary Agreement I, Supplementary Agreement II, Letter of

Guarantee I, Letter of Guarantee II and Deed of Assignment, neither Claimant nor Respondents

have raised any objection. Moreover, according to Rule 10 of the Law on Governing Laws in

Foreign-related Civil Matters, “The foreign governing law for any foreign-related civil matter

shall be ascertained by the People’s Court, arbitration institution or administrative body. Where

the parties have selected a foreign governing law, the law of such country must be provided.

Where the foreign law cannot be ascertained or the foreign law has no applicable provision, the

laws of the People’s Republic of China shall govern.” In this case, while the parties have agreed

to Hong Kong law as the governing law for this substantive dispute, neither side has provided the

arbitral panel with the applicable provisions under Hong Kong law with respect to the


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effectiveness of the above agreements, which should therefore be ascertained under the laws of

mainland China. The arbitral panel holds that the above agreements [page 33] have embodied the

actual intentions of the parties, do not violate any mandatory provision of Chinese law or

administrative regulations, do not become void under Rule 52 of the Contract Law of the

People’s Republic of China, and therefore should be deemed effective.


            (iii)   Claimant’s Demands.


            1.      About Claimant’s first arbitration demand.


            Claimant demands that Respondents pay the redemption prices for the convertible bonds

involved in this dispute and interest totaling RMB648,311,950. In the Explanation of Arbitration

Demands it submitted, Claimant changed the exact amount of this arbitration demand to

RMB648,284,650, which change was a voluntary adjustment of its claims by Claimant and is

hereby accepted by the arbitral panel.


            2.      About Claimant’s second arbitration demand.


            Claimant demands that Respondents be jointly liable for default interest on the

redemption price for Convertible Note I based upon the current benchmark interest rate of 4.35%

for short-term (one year, including one year) loans published by the People’s Bank of China,

with the computation period commencing on July 7, 2017 (the redemption date for Convertible

Note I) and ending provisionally on January 15, 2018, amounting to RMB13,881,144.13; that

Respondents be jointly liable for default interest on the redemption price for Convertible Note II

based upon the current benchmark interest rate of 4.35% for short-term (one year, including one

year) loans published by the People’s Bank of China, with the computation period commencing

on August 17, 2017 (the redemption date for Convertible Note II) and ending provisionally on

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January 15, 2018, amounting to [page 34] RMB749,518.04; the two items provisionally totaling

RMB14,630,662.17.


            With respect to Convertible Note I, section 7.2(c)(iii) provided, “The Investor upon

exercise of its redemption right shall have the right to redeem the Convertible Note at the

Redemption Price, which is calculated as the total outstanding principal amount with respect to

the Convertible Note, plus any accrued and unpaid interest at 15% per annum calculated by using

the then outstanding principal amount multiplied by actual number of days elapsed since the

Completion date divided by 365 days; the payment is to be made by cash, and the Investor may

request for the cash payment to come from the Owner or other companies and institutions

designated or owned by the Owner.” With respect to Convertible Note II, section 1 of

Supplementary Agreement II provided that the provision in section 7.2(c)(iii) of the Purchase

Agreement shall equally apply to the redemption of Convertible Note II. The 15% interest rate in

the above provisions are for the interest on Convertible Note I and Convertible Note II and is not

for the agreed default interest rate for payments made past the redemption dates, which should in

its computation use the redemption price for each convertible note (i.e., the principal plus interest

accrued at the 15% annual interest rate) as the principal amounts.


            Therefore, with respect to this arbitration demand the key issue is, where the parties have

not agreed on any default interest, whether Respondents should be liable to Claimant for such

interest or how such interest should be calculated. As discussed above, the law governing the

substantive dispute in this case is Hong Kong law. The issue whether Respondents should be

liable to Claimant for any interest arising from the delay in redeeming Convertible Note I and

Convertible Note II and the calculation of such interest is a part of the substantive dispute of this

case and, therefore, should be determined under Hong Kong law.


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            According to Rule 10(1) of the Law on Governing Laws in Foreign-related Civil Matters,

[]age 35] where the parties have selected a foreign governing law, the law of such country must

be provided. Based upon the Hong Kong Legal Opinion, with respect to whether interest should

be paid or how interest should be calculated, the arbitral panel has confirmed that there are

applicable provisions under Hong Kong law as follows:


            Section 79 of Hong Kong Arbitration Ordinance provides:


            “(1)   Unless otherwise agreed by the parties, an arbitral tribunal may, in the arbitral

proceedings before it, award simple or compound interest from the dates, at the rates, and with

the rests that the tribunal considers appropriate, subject to section 80, for any period ending not

later than the date of payment—


            (a)    on money awarded by the tribunal in the arbitral proceedings;


            (b)    on money claimed in, and outstanding at the commencement of, the arbitral

proceedings but paid before the award is made; or


            (c)    on costs awarded or ordered by the tribunal in the arbitral proceedings.


            (2)    Subsection (1) does not affect any other power of an arbitral tribunal to award

interest.


            (3)    A reference in subsection (1)(a) to money awarded by the tribunal includes an

amount payable in consequence of a declaratory award by the tribunal.”


            Section 80 of Hong Kong Arbitration Ordinance provides:




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            “(1)   Interest is payable on money awarded by an arbitral tribunal from the date [page

36] of the award at the judgment rate, except when the award otherwise provides.


            (2)    Interest is payable on costs awarded or ordered by an arbitral tribunal from —


            (a)    the date of the award or order on costs; or


            (b)    the date on which costs ordered are directed to be paid forthwith, at the judgment

rate, except when the award or order on costs otherwise provides.


            (3)    In this section, ‘judgment rate’ (判定利率) means the rate of interest determined


by the Chief Justice under section 49(1)(b) (Interest on judgments) of the High Court Ordinance.”


            Section 40 of Hong Kong High Court Ordinance provides:


            “Interest on judgments


            (1)    Judgment debts shall carry simple interest—


            (a)    at such rate as the Court of First Instance may order; or


            (b)    in the absence of such order, at such rate as may be determined from time to time

by the Chief Justice by order, on the aggregate amount thereof, or on such part thereof as for the

time being remains unsatisfied from the date of the judgment until satisfaction.


            (2)    Interest under this section may be calculated at different rates in respect of

different periods.”


            With respect to paragraphs 116-127 on “Applicable law on interest” in the Hong Kong

Legal Opinion submitted by Claimant, Respondents raised two rebuttals in its examination



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argument: First, according to subsection (2) of Section 5 (“Arbitration to which this Ordinance

applies”) of the Arbitration Ordinance, [page 37] “If the place of arbitration is outside Hong

Kong, only sections 20, 21, 45, 60 and 61 and Part 10 apply to the arbitration.” As this case is an

arbitration conducted in mainland China, the Arbitration Ordinance does not apply. Second, the

agreement to Hong Kong law as the governing law in this case between Claimant and

Respondents should be about the substantive governing law, rather than an agreement as to the

procedural law, so the Arbitration Rules should be applied to the arbitration adjudication

procedures, arbitration proceeding, arbitration basis and arbitration procedures.


            On this issue, the arbitral panel does not believe that the legal opinion of a Hong Kong

barrister submitted by Claimant is of much help. First, that opinion does not provide any legal

basis or authority to the effect that the issue of interest is an issue of substantive law; second,

although that opinion deems interest as a substantive law issue, the law quoted therein is all

Hong Kong procedural law. The arbitral panel thinks that there is a contradiction here. Especially

in paragraphs 114-115 of the legal opinion, it was stated that “since interest, legal expenses and

other expenses constitute a part of the performance and enforcement of the arbitration agreement,

Hong Kong law applies to interest, legal expenses and other expenses.” Such logic has no legal

basis. When it has been expressly agreed that the Arbitration Rules applies to the procedures of

this case, the Arbitration Rules, instead of Hong Kong’s Arbitration Ordinance, should be

applied to what constitutes a part of the performance and enforcement of the arbitration,

including the commencement of arbitration, the formation of the arbitral panel, the arbitration

proceeding and the preparation of the arbitration award.


            The arbitral panel thinks that there is no impediment to the adjudication of the issue of

interest in this case. For whether or not the issue of interest is deemed a substantive mater or


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procedural matter, namely whether to apply [page 38] Hong Kong law or mainland China law,

the result will be the same. In the arguments and evidence presented by both sides there is no

indication that neither Hong Kong law nor mainland China law permits awarding interest. Also

as understood by the arbitral panel, the calculation of interest usually references the bank loan

interest for the same period. Although the Arbitration Rules is silent about an arbitrator’s power

to award interest, there is no denial of an arbitrator’s power to award interest either. Furthermore,

this is absolutely permitted by the Civil Procedure applicable to mainland China, in which sits

Beijing, the venue of this arbitration.


            In this case, Claimant demands default interest on the overdue redemption payments

accrued from the first day of the respective redemption dates through the date of actual payment

at the current benchmark interest rate of 4.35% for short-term (one year, including one year)

loans published by the People’s Bank of China. With respect to such interest accrued from the

first day of the respective redemption dates through the date of actual payment, the arbitral panel

thinks that the annual interest rate of 4.35% is reasonable. As to the interest accruing from the

date of this award through the actual date of payment, the annual interest rate of 4.35% claimed

by Claimant is lower than the judgment rate of 8% under Hong Kong law and is a voluntary

adjustment by Claimant, which the arbitral panel supports.


            3.     About Claimant’s third arbitration demand.


            Claimant demands that Respondents be held jointly liable for the attorneys’ fees incurred

by Claimant because of this case, including RMB8,708,119 in fees for mainland China lawyers,

and RMB767,293.30 in fees for Hong Kong lawyers, totaling RMB9,475,412.30.




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            In support of such arbitration demand, Claimant submitted legal fee receipts for payments

to Beijing Guantao Zhongmao [page 39] (Shanghai) Law Firm and receipts for payments to

Guantao & Chow (Hong Kong), which separately prove payments it has made in this case in the

amounts of RMB8,708,119 for mainland China attorneys’ fees and RMB767,293.30 for Hong

Kong attorneys’ fees. Among the receipts are those for attorneys’ fee payments to Beijing

Guantao Zhongmao (Shanghai) Law Firm, including four Bank of China Domestic Payment

Service Payment Confirmations, with respective payments amounts of RMB2,100,000,

RMB3,000,000, RMB2,600,000 and RMB1,008,119, totaling RMB8,708,119, with respective

payment dates of December 18, 2017, December 25, 2017, January 4, 2018 and January 9, 2018,

the payor being Claimant Shanghai Qichengyueming Investment Partnership Enterprise and the

payee being Beijing Guantao Zhongmao (Shanghai) Law Firm in all instances. Respondents

have not objected to the authenticity of the above evidence, which is recognized by the arbitral

panel. From the information on the payment confirmations regarding the payment amounts,

payment dates, the payor and the payee, it can be confirmed that such amounts were legal fees

for mainland China lawyers Claimant paid for this case. The invoices and payments receipts of

Guantao & Chow (Hong Kong) included invoices of Guantao & Chow (Hong Kong) for legal

fees incurred by Claimant in this case as well as two bank payment confirmations (with the

respective amounts of RMB767,000 and RMB293.30, totaling RMB767,293.30, both paid on

January 13, 2018), which prominently contain the case number for this case and can be

confirmed as for amounts of Hong Kong legal fees incurred by Claimant for this case. In sum,

the arbitral panel finds that Claimant has incurred a total of RMB9,475,412.30 in attorneys’ fees

for this case.




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            As to the issue whether Respondents should be liable for the above attorneys’ fees

incurred by Claimant and as to the exact [page 40] amount of such liability, the arbitral panel

thinks that the attorneys’ fees have been incurred by Claimant for the arbitration proceeding of

this case and therefore this issue does not constitute a substantive dispute in this case, but a

procedural issue, to which the provisions of the Arbitration Rules should first apply. Section 2 of

Article 52 (“Allocation of Fees”) of the Arbitration Rules provides, “The arbitral tribunal has the

power to decide in the arbitral award, having regard to the circumstances of the case, that the

losing party shall compensate the winning party for the expenses reasonably incurred by it in

pursuing the case. In deciding whether or not the winning party’s expenses incurred in pursuing

the case are reasonable, the arbitral tribunal shall take into consideration various factors such as

the outcome and complexity of the case, the workload of the winning party and/or its

representative(s), the amount in dispute, etc.” As to the attorneys’ fees incurred by Claimant in

this case, considering that Respondents have not raised any objection to the first arbitration

demand, the dispute in this case is not complex. Taking into account the actual workload of

Claimant’s counsel and the amount in controversy in this case, the arbitral panel thinks that it is

more appropriate to make Respondents jointly liable for the attorneys’ fees incurred by Claimant

in the amount of RMB1,000,000.


            4.     About Claimant’s fourth arbitration demand.


            Claimant demands that Respondents be held jointly liable for the attachment expenses

incurred by Claimant in this case, including RMB5,000 in asset attachment fee and

RMB972,467.93 in premium paid by Claimant to acquire an attachment bond with respect to

Respondents’ assets, totaling RMB977,467.93, in addition to the arbitration fee for this case.




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            With respect to the attachment fee and attachment bond premium paid by Claimant,

Claimant has submitted a notice of the Third Intermediate People’s Court of Beijing for payment

of asset attachment fees [page 41] and payment receipt, and a policy for the asset attachment

bond, invoice and payment receipt issued by Huaan Property Insurance Co., Ltd., of which

notice for payment of asset attachment fees clearly states the amount as RMB5,000, the asset

attachment bond policy, invoice and payment receipt clearly state the premium amount as

RMB972,467.93. Respondents did not raise any objection as to the authenticity of the above

evidence, which is recognized by the arbitral panel. From the information on the payor, payment

date and use contained in the above evidence, it can be confirmed that such amount was the

expenses incurred by Claimant for attachment of assets covered by this case.


            With respect to the issue whether Respondents should be liable to Claimant for the above

attachment expenses and the exact amount of the liability, the arbitral panel thinks that such

expenses were incurred for the proceeding of this arbitration and as such does not constitute a

substantive dispute in this case. According to section 2 of Article 52 (“Allocation of Fees”) of

the Arbitration Rules quoted above, the arbitral panel finds that such expenses and the amounts

thereof claimed by Claimant have not exceeded the scope of “reasonable fees” and should be

accepted by the arbitral panel.


            As to the allocation of the fees incurred in connection with the arbitration of this case,

considering all the circumstances of this case, the arbitral panel finds that the arbitration fees

arising from this case should all be the responsibility of Respondents.


            With respect to Claimant’s fifth arbitration demand for other remedies, since Claimant

has not clarified the exact types or amounts of such other remedies, and the arbitral panel has




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already adjudicated all the substantive claims made by Claimant in this case, such arbitration

demand is hereby [page 42] rejected.


            To the extent that the arguments and evidence of Claimant and Respondents quoted in

this arbitration award have not included all the information submitted by the parties, it does not

mean that the arbitral panel did not consider such information in its adjudication or has tacitly

adopted such information. The arbitral panel finds that this award has contained enough

arguments and evidence of the parties to enable the arbitral panel to render this award.


                                                 III. AWARD


            Based upon its opinion above, the arbitral panel hereby makes the following award:


            (1)    Respondents shall pay Claimant the redemption prices for the convertible notes at

issue (including principals and interest) totaling RMB648,284,650.


            (2)    Respondents shall pay Claimant default interest on RMB606,635,250 as the

principal of the redemption price for Convertible Note I, accruing from July 7, 2017 through the

date of actual payment, and on RMB41,649,400 as the principal of the redemption price for

Convertible Note II, accruing from August 17, 2017 through the date of actual payment, at an

annual interest rate of 4.35%.


            (3)    Respondents shall pay Claimant attorneys’ fees incurred for this case in the

amount of RMB1,000,000.


            (4)    Respondents shall pay Claimant asset attachment fee in the amount of RMB5,000

and the premium for asset attachment bond in the amount of RMB972,467.93.


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            (5)    The arbitration fee of RMB3,544,631 arbitration fee shall be the responsibility of

Respondents. Since such arbitration fee has been fully deducted from a deposit made by

Claimant with CIETAC, Respondent shall pay Claimant RMB3,544,613 as reimbursement of the

arbitration fee advanced by Claimant. The special compensation for arbitrator Yang Liang-Yee

appointed by Claimant is USD29,678.49, which shall all be paid by Respondents. After

offsetting such expense against a deposit of USD43,000 made by Claimant, there is a remainder

of USD13,321.51, which shall be returned to Claimant by CIETAC. Respondents shall pay

Claimant USD29,678,49. The actual fee for arbitrator Qiang Li appointed by Respondents in the

amount of RMB1,180 was Respondents’ sole responsibility. After offsetting such fee against a

deposit of RMB15,000 made by Respondents, there is a remainder of RMB13,820, which shall

be returned to Respondents by CIETAC.


            (6)    All the other demands of Claimant are rejected.


            Payment of the above amounts owed to Claimant by Respondents must be completed

within five days of this award.


            This award is a final adjudication and shall become effective from the date it is made.




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                      Chief Arbitrator   Wang Xuehua [signature]


                      Arbitrator         Yang Liang-Yee [signature]


                      Arbitrator         Qiang Li [signature]


CHINA INTERNATIONAL ECONOMIC AND TRADE ARBITRATION COMMISSION [seal]


                                         May 9, 2018 in Beijing




[End]




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